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3                                UNITED STATES DISTRICT COURT

4                                       DISTRICT OF NEVADA

5                                                  ***

6     LAVERN C. FAST HORSE,                               Case No. 3:20-cv-00472-MMD-CLB

7                                    Petitioner,                         ORDER
              v.
8

9     UNITED STATES OF AMERICA,

10                                Respondent.

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12           Petitioner Lavern C. Fast Horse has submitted a pro se petition for writ of habeas

13   corpus pursuant to 28 U.S.C. § 2254 (ECF No. 1-1). However, Petitioner has failed to

14   submit an application to proceed in forma pauperis or pay the filing fee. Accordingly, this

15   matter has not been properly commenced and is subject to dismissal on that basis. 28

16   U.S.C. § 1915(a)(2) and LSR 1-2.

17           Further, § 2254 federal habeas relief may be granted if a petitioner is in custody

18   pursuant to a state court judgment in violation of his federal constitutional rights. 28 U.S.C.

19   § 2254(a). But Fast Horse alleges, without specifics, that Nevada laws were illegally

20   repealed. He also invokes, without elaboration, the 1866 Treaty of Guadalupe Hidalgo.

21   (ECF No. 1-1 at 5-6.) The Court discerns no allegations that implicate Fast Horse’s rights

22   under § 2254. Moreover, Fast Horse names the United States of America as the

23   Respondent; however, under Rule 2(a) of the Rules Governing Section 2254 Habeas

24   Corpus Petitions, he must name as Respondent the state officer who has custody of him,

25   namely the warden of the prison in which he is incarcerated.

26           It is therefore ordered that the Clerk of Court detach and file the petition (ECF No.

27   1-1).

28           It is further ordered that the petition is dismissed as set forth in this order.
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1           It is further ordered that a certificate of appealability is denied, as jurists of reason

2    would not find the Court’s dismissal of this action to be debatable or incorrect.

3           It is further ordered that the Clerk of Court enter judgment accordingly and close

4    this case.

5           DATED THIS 4th day of September 2020.

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                                                 MIRANDA M. DU
8                                                CHIEF UNITED STATES DISTRICT JUDGE

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